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                   UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

In re:
Prioria Robotics, Inc.,                           Case No. 18-10018-KKS
                                                  Chapter 7
      Debtor.
                                /
                   TRUSTEE’S MOTION FOR APPROVAL
                   OF COMPROMISE AND SETTLEMENT
     NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
      Pursuant to Local Rule 2002-2, the Court will consider the relief
requested in this paper without further notice or hearing unless a party in
interest files a response within twenty-one (21) days from the date set forth on
the proof of service plus an additional three days for service if any party was
served by U.S. Mail, or such other period as may be specified in Fed. R.
Bankr. P. 9006(f).
       If you object to the relief requested in this paper, you must file an
objection or response electronically with the Clerk of the Court or by mail at
110 E. Park Avenue, Suite 100, Tallahassee, FL, 32301 and serve a copy on
the movant’s attorney, Kevin Forsthoefel, 123 South Calhoun Street,
Tallahassee, Florida 32301, and any other appropriate person within the time
allowed. If you file and serve a response within the time permitted, the Court
will either schedule and notify you of a hearing or consider the response and
grant or deny the relief requested without a hearing.
       If you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief requested in the paper, will proceed
to consider the paper without further notice or hearing, and may grant the
relief requested.

      Plaintiff, Theresa M. Bender, the Chapter 7 Trustee (“Trustee”) in the

above-captioned proceeding, by and through her undersigned counsel, files this

Motion for Approval of a Compromise and Settlement reached with Gilligan,

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Gooding, Batsel & Anderson, P.A. f/k/a Gilligan, Gooding, Franjola & Batsel,

P.A. (the “Gilligan Law Firm”) and George Franjola, individually (“Franjola”)

arising from the pre-petition professional services provided by the Gilligan Law

Firm and Franjola to the Debtor in the case styled Condor Aerial, LLC v. Prioria

Robotics, Inc., Case No. 2015-002544 pending in the Eighth Judicial Circuit in and

for Alachua County, Florida. A copy of the Settlement Agreement and Release

(“Agreement”) is attached as Exhibit A and incorporated herein by reference.

      By making this Motion, the Trustee seeks the Court’s approval of the terms

and conditions of the Agreement. After due notice and upon the Court’s approval

of the Agreement, the parties shall execute the Agreement and make payment of

the settlement proceeds as prescribed in the Agreement.

      1.     The Gilligan Law Firm and Franjola provided legal services to the

Debtor in the case styled Condor Aerial, LLC v. Prioria Robotics, Inc., Case No.

2015-002544 pending in the Eighth Judicial Circuit in and for Alachua County,

Florida. (the “Pre-Petition Action”).

      2.     On October 3, 2017, the trial court in the Pre-Petition Action entered a

default final judgment on a claim for civil theft in favor of Condor Aerial, LLC

against Prioria in the amount of $186,000, plus attorney’s fees and costs (“Civil

Theft Judgment”). Thereafter on January 11, 2018, following a trial by jury, the


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trial court entered final judgment on claims for breach of contract and breach of the

implied covenant of good faith and fair dealing in favor of Condor Aerial, LLC and

against Prioria for $1,338,515.00, plus interest (“Contract Judgment”).

       3.     As a result of the Civil Theft Judgment and Contract Judgment,

Prioria filed for bankruptcy protection.

       4.     The Trustee made demand on the Gilligan Law Firm and Franjola

related to alleged instances of professional malpractice in its representation of the

Debtor in the Pre-Petition Action. The Gilligan Law Firm and Franjola dispute

liability.

       5.     Franjola and the Gilligan Law Firm filed an unsecured proof of claim

(Amended Claim 34-3) in this bankruptcy proceeding in the amount of $8,266.23

for unpaid legal fees and costs for professional services rendered to Prioria pre-

petition (the “Franjola Claim”). On February 14, 2020, this Court entered an Order

(Doc. 472) approving the Franjola Claim as an administrative claim for unpaid

legal fees and costs for professional services rendered to Prioria pre-petition in the

amount of $8,266.23 – subject to the Trustee’s right to seek equitable

subordination of the claim.

       6.     At a mediation held on June 19, 2020, the Gilligan Law Firm,

Franjola, and the Trustee agreed to resolve any and all claims the Trustee may have


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against Gilligan Law Firm and Franjola related to the professional services

provided to the Debtor in the Pre-Petition Action and the Franjola claim asserted in

this bankruptcy. As set forth in greater detail in the attached Agreement, the

Trustee, the Gilligan Law Firm, and Franjola have agreed as follows:

             a)     The Gilligan Law Firm shall pay the Trustee, for the benefit of

                    the Prioria Robotics, Inc. bankruptcy estate, three hundred

                    seventy thousand dollars ($370,000.00) (the “Settlement

                    Proceeds”).

             b)     The Gilligan Law Firm and Franjola shall withdraw the

                    Franjola Claim and waive any right to further payment from the

                    Trustee and the Bankruptcy Estate.

             c)     The parties shall execute full mutual releases.

      7.     Federal Rule of Bankruptcy Procedure 9019(a) provides that, after

notice and a hearing, a court may approve a proposed settlement.

      8.     The Eleventh Circuit Court of Appeals has promulgated the following

test for approval of a settlement:

             a)     The probability of success in litigation;

             b)     The difficulties, if any, to be encountered in the matter of

                    collection;


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             c)    The complexity of the litigation involved and the expense,

                   inconvenience, and delay associated therewith; and

             d)    The interest of the creditors and a proper deference to their

                   reasonable views regarding the matter.

In re Justice Oaks II, Ltd., 898 F.2d 1544, 1549 (11th Cir. 1990). Pursuant to the

standard set forth in Justice Oaks II, the Agreement between the Trustee and the

Defendants should be approved.

      9.     In light of the high costs of litigation, the time constraints involved,

and the risks associated with litigation, the parties have agreed to resolve their

dispute as detailed in the Agreement. Final resolution of the Trustee’s claims

without settlement would involve significant discovery by the Trustee, the Gilligan

Law Firm, and Franjola. Thus, the parties anticipate there being considerable

expense and delay in continuing to litigate the Trustee’s claims.

      10.    Finally, the Agreement is in the best interest of the Prioria Robotics,

Inc.’s unsecured creditors. As a result of this Settlement Agreement, the Prioria

Robotics, Inc. Estate will realize $370,000 that it may otherwise not have received

which will allow the Estate to a pay a larger portion of the Prioria Robotics, Inc.’s

unsecured claims. The Trustee also believes it is in the best interest of the

unsecured creditors to promptly resolve her claims against the Gilligan Law Firm


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and Franjola, distribute proceeds, and move towards closure of the bankruptcy

estate. The immediate settlement of the Trustee’s claims will save the bankruptcy

estate significant litigation expenses by avoiding further litigation of these matters

that may instead be utilized to pay the Prioria Robotics, Inc.’s unsecured creditors.

      11.      In sum, the Trustee. the Gilligan Law Firm, and Franjola believe that

this settlement is in the best interest of the estate and its unsecured creditors, that

this is a fair settlement, and that there is a chance that less could possibly be

realized for the bankruptcy estate and its unsecured creditors in further litigating

the action.

      WHEREFORE, the Chapter 7 Trustee, Theresa M. Bender, prays that the

Court enter an order approving the parties’ Settlement Agreement and Release and

for such other and further relief as is just and proper.

      RESPECTFULLY SUBMITTED this 21st day of July, 2020.

                                         /s/ Kevin A. Forsthoefel
                                         Kevin A. Forsthoefel
                                         Florida Bar No. 92382
                                         Ausley McMullen
                                         123 South Calhoun Street (32301)
                                         Tallahassee, Florida 32302
                                         (850)224-9115; Fax (850)222-7560
                                         kforsthoefel@ausley.com
                                         Attorney for Theresa M. Bender,
                                         Chapter 7 Trustee



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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has
been furnished via the CM/ECF System to those registered thereto in the above-
styled bankruptcy proceeding on this 21st day of July, 2020 and the following via
electronic notice or by standard first-class mail and to those listed on the attached
Mailing Matrix (excluding the aforementioned):

 Jodi Daniel Dubose (jdubose@srbp.com)
 Theresa M. Bender (tmbenderch7@gmail.com)
 Cory Scott Simmons (csimmons@forthepeople.com)
 Adrian C. Delancy (adelancy@mrthlaw.com)
 Jerry M. Markowitz (jmarkowitz@mrthlaw.com)
 Alan R. Rosenberg (arosenberg@mrthlaw.com)
 Jacob Aaron Brown (Jacob.brown@akerman.com)
 Rebekah Ann Davis (rebekah.davis@deo,myflorida.com; deoservice@deo.myflorida.com)
 George Franjola (gfranjola@franjolalaw.com)
 Raymond J. Rotella (rrotella@kostoandrotella.com)
 James Joseph Webb (jwebb@mitrani.com)
 Seldon J. Childers (jchilders@smartbizlaw.com)
 Scott A. Stichter (sstichter.ecf@srbp.com)
 Ryan C. Reinert (rreinert@shutts.com)
 U.S. Trustee Charles F. Edwards (Charles.edwards@usdoj.gov)
 John Hatfield, via U.S. Mail at P.O. Box 140944, Gainesville, Florida 32614
 Justin Dee, via U.S. Mail at 4127 NW 36th St., Gainesville, Florida 32605
 Ashley E. Scannella, via U.S. Mail at 3812 NW 25th Ter., Gainesville, Florida 32605
 Susan W. Scannella, via U.S. Mail at 9140 SW 48th Pl. Apt. B, Gainesville, Florida 32608
 Randy Schonhoff, via U.S. Mail at P.O. Box 92, Port Royal, South Carolina 29935
 John Kent, via U.S. Mail at P.O. Box 447, Jacksonville, Florida 32201
 Boris Yaw, via U.S. Mail at 6823 SW 53rd Ave., Gainesville, Florida 32608
 U.S. Trustee (USTPRegion21.TL.ECF@usdoj.gov)
 Stephen Turner, P.O. Box 358920 Gainesville, Florida 32635
 Prioria Robotics, Inc., via U.S. Mail at P.O. Box 358920, Gainesville, Florida 32635-8920
 Gilligan, Gooding, Batsel & Anderson, P.A., via U.S. Mail at 1531 SE 36th Ave., Ocala, FL 34471



                                              /s/ Kevin A. Forsthoefel
                                              Attorney




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       6.      This Agreement may be executed in one or more counterparts, each of which,

taken together, shall be deemed an original.

       7.      Each party to this Agreement hereby represents and warrants that it has legal

authority to enter this Agreement, that the person executing this Agreement on behalf of the

party is authorized to do so, and that the Agreement shall be binding and enforceable when duly

executed and delivered by both parties.

       IN WITNESS WHEREOF, the undersigned has executed this Agreement.


                                               By:_ _ _ _ _ _ _~ - - - - - ~ - -
Dated: July _ __, 2020                             THERESA M. BENDER, Chapter 7 Trustee




Dated: July    /   7 , 2020

                                               By:_-:-:-:-------------
Dated: July _ __, 2020                           Gilligan, Gooding, Batsel & Anderson, P.A.


                                                    Printed Name, Title




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